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                                                                                                        CT Corporation
                                                                                         Service of Process Notification
                                                                                                                 08/12/2024
                                                                                                    CT Log Number 547077806


Service of Process Transmittal Summary

TO:       Stuart Paulson, Senior Vice President
          American National Property and Casualty Company
          1949 E Sunshine Corporate Centre
          Springfield, MO 65899-0001

RE:       Process Served in Texas

FOR:      American National Property and Casualty Company (Domestic State: MO)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        AGAPE BROADCASTERS, INC. vs. AMERICAN NATIONAL PROPERTY AND CASUALTY
                                        COMPANY
CASE #:                                 202447287

NATURE OF ACTION:                       Insurance Litigation

PROCESS SERVED ON:                      C T Corporation System, Dallas, TX

DATE/METHOD OF SERVICE:                 By Traceable Mail on 08/12/2024

JURISDICTION SERVED:                    Texas

ACTION ITEMS:                           CT will retain the current log

                                        Image SOP

                                        Email Notification, Service Of Process pcserviceofprocess@americannational.com

                                        Email Notification, Emily Novicky emily.novicky@americannational.com

REGISTERED AGENT CONTACT:               C T Corporation System
                                        1999 Bryan Street
                                        Suite 900
                                        Dallas, TX 75201
                                        866-401-8252
                                        LargeCorporationTeam@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                      Page 1 of 1

                                                    EXHIBIT B
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PRONTO        PROCESS

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                                                                   Receipt Number: 1039141
EML
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COPY OF PLEADING PROVIDED BY PLT


                                        CAUSE NUMBER: 202447287


PLAINTIFF: AGAPE BROADCASTERS INC                                      In the 125th Judicial

vs.                                                                    District Court of

DEFENDANT:       AMERICAN      NATIONAL    PROPERTY    AND             Harris County, Texas

CASUALTY COMPANY


                                                 CITATION
THE STATE OF TEXAS
County of Harris

TO: AMERICAN NATIONAL PROPERTY AND CASUALTY COMPANY BY SERVING ITS REGISTERED AGENT
                                                                                  '

T CORPORATION SYSTEM

1999 BRYAN STREET SUITE 900

DALLAS TX 75201


   Attached is a copy of PLAINTIFF'S ORIGINAL PETITION FOR DECLARATORY JUDGMENT FOR
THE ENFORCEMENT OF A JUDGMENT FOR INSURANCE CODE VIOLATIONS AND NOTICE OF FILING
FOREIGN JUDGMENT AGAINST TEXAS ESTATE.

This instrument was filed on July 26, 2024, in the above numbered and styled cause on
the dockeL in the above Judicial District Court of Harris CounLy, Texas, in Lhe
courthouse in the City of Houston, Texas. The instrument attached describes the claim
against you.

   YOU HAVE BEEN SUED.   You may employ an attorney.  If you or your attorney do not
file a written answer with the District Clerk who issued this citation by 10:00 a.m.
on the Monday next following the expiration of twenty days after you were served this
citation and petition, a defauLL judgment may be Laken againsL you.    In addition to
filing a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit.   These discLosures generally must be
made no later than 30 days after you file your answer with the clerk.   Find out more
at TexasLawHelp.org.

      ISSUED   AND   GIVEN   UNDER MY   HAND   and seal of said    Court,   at   Houston,   Texas,   this
August 5, 2024.




                /

                                                             Marilyn Burgess, District CLerk
                                                             Harris County, Texas
                                                             201 Caroline, Houston, Texas 77002



                                                             Generated By: WANDA CHAMBERS

Issued at request of:
PECKHAM, CHARLES HENRY
800 BERING DR #220
HOUSTON, TX  77057
713-574-9044
Bar Number: 15704900


                                               EXHIBIT B
                                                                                   Tracking Number: 74357101



                                               CAUSE NUMBER: 202447287


PLAINTIFF: AGAPE BROADCASTERS INC                                                In the 125th

       vs.                                                                       judicial District Court

DEFENDANT:         AMERICAN       NATIONAL PROPERTY     AND                      of Harris County, Texas

CASUALTY COMPANY




                                           OFFICER/AUTHORIZED PERSON RETURN

Came         to        hand      at            o'clock          .    M.,    on     the              day    of
                                                      , 20
Executed          at    (address)
in                          County
at                           o'clock                     M.,        on     the                    day      of
                                                                      , 20
by delivering to                                                                                  defendant,
in person, a true copy of this
Citation    together    with   the    accompanying              copy(ies)   of     the
                                          Petition
attached thereto and I endorsed on said copy of the Citation the date of deLivery.

To     certify           which        I    affix   my    hand   officially        this              day    of
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                       Affiant                                                  Deputy
On this day,                                                     , known to me to be
the person whose signature
appears on the foregoing return, personally appeared.  After being by me duly sworn,
he/she stated that this citation was executed by him/her in the exact manner recited
on the return.

SWORN             TO      AND         SUBSCRIBED      BEFORE        ME     on          thIs                of
                                                   , 20




                                                    EXHIBIT B
            NoLary Public




EXHIBIT B
                                                                                                      7/26/2024 1:03 PM
                                                                           Marilyn Burgess- District Clerk Harris County
                                                                                               Envelope No. 90234226
                                                                                                      By: Tianni Williams
                                                                                              Filed: 7/26/2024 1:03 PM

                                  Cause No.

 AGAPE BROADCASTERS,INC.                                IN THE DISTRICT COURT OF
     Plaintiff,

 V.

                                                        HARRIS COUNTY,TEXAS

 AMERICAN NATIONAL PROPERTY
 AND CASUALTY COMPANY and the
 ESTATE   OF  MARCUS   TODD
 SAMPSON,
                                                               JUDICIAL DISTRICT
        Defendants.




                      PLAINTIFF'S ORIGINAL PETITION
                                              For
      DECLARATORY JUDGMENT,FOR THE ENFORCMENT OF A
         JUDGMENT,FOR INSURANCE CODE VIOLATIONS
                                              And
      NOTICE OF FILING FOREIGN JUDGMENT AGAINST TEXAS
                           ESTATE



       NOW INTO COURT, through undersigned counsel, comes Plaintiff, AGAPE

BROADCASTERS,INC., which does allege, aver, and represent as follows:

                                               I.

                                           PARTIES

       Plaintiff is a corporation organized and existing under the laws of the State of Louisiana,

with its principal place of business located at 110 West Third Street, Crowley, Louisiana 70526.

       Defendant, American National Property and Casualty Company ("ANPAC") is a

foreign, for-profit Fire and Casualty insurance company which is engaged in the business of




                                        EXHIBIT B
insurance in the State of Texas. ANPAC may be served with process by serving its registered

agent, CT Corporation System at 1999 Bryan Street, Suite 900, Dallas, Texas 75201, its registered

address. Service of said Defendant may be affected by personal delivery or certified mail


       Defendant, Estate of Marcus Todd Sampson is an estate in Harris County Probate Court

No. 4 under Cause No. 472093,/n the Estate ofMarcus Todd Sampson, Deceased, which may be

served with process by serving Vallie Matix, Administratrix of the Estate, by serving Lewis and

Lewis Attorneys at Law, PLLC, attorneys for the estate and/or attorneys for the administratrix, at

16055 Space Center Blvd., Suite 190, Houston, Texas 77602. Service of said Defendant may be

affected by personal delivery or certified mail.




                               DISCOVERY CONTROL PLAN
       Discovery is intended to be conducted under Level 2 as per Rule 190.3 of the Texas Rules

of Civil Procedure.



                                JURISDICTION AND VENUE
       Venue is proper pursuant to Section 15.035 ofthe Texas Civil Practice and Remedies Code

due to debt obligations in this state and county, and Section 15.002(a)(1)and (2)ofthe Texas Civil

Practice and Remedies Code. Furthermore, subject matter jurisdiction is present. The amount in

controversy is within the jurisdictional limits ofthis Court. Pursuant to Rule 47, the amount sought

in this case is more than $1 million.


       This court has jurisdiction over Defendant ANPAC because said Defendant purposefully

availed itself of the privilege of conducting activities in the State of Texas and established

minimum contacts sufficient to confer jurisdiction over said Defendant, and the assumption of


                                                   2

                                          EXHIBIT B
jurisdiction over ANPAC will not offend traditional notions of fair play and substantial justice and

is consistent with the constitutional requirements of due process.

        Plaintiff would show that Defendant ANPAC had continuous and systematic contacts with

the State of Texas sufficient to establish general jurisdiction over said Defendant.

       Furthermore, Plaintiff would show that Defendant ANPAC engaged in activities

constituting business in the State of Texas as provided by Tex. Civ. Prac. & Rem. Code § 17.042,

in that said Defendant contracted with a Texas resident and performance ofthe agreement in whole

or in part thereof was to occur in Texas.

                                                IV.

                        THE INCIDENT AND ITS CONSEQUENCES

        Plaintiff owns and operates KAJN Radio (hereinafter "KAJN"), a Christian radio station

broadcasting on air across Southwest Louisiana and East Texas since 1977. KAJN is one of the ;

leading Christian radio stations in the United States, broadcasting only Christian music and

programming, including teaching programs. KAJN's Christian message reaches approximately

one and a half million people in the Lake Charles, Alexandria, Lafayette, and Baton Rouge areas,

as well as listeners in East Texas and on oil rigs in the Gulf of Mexico.

        KAJN is broadcast on a commercial frequency, 102.9 FM, pursuant to a license granted by

the Federal Communications Commission (FCC). KAJN, as an FCC licensee, is a commercial,

for-profit station entitled to transfer its license by private sale to another entity which may

commercially operate the frequency.

        KAJN's signal originates at its studio in Crowley, Louisiana. At the time of the events

described herein, KAJN sent its signal from its Crowley studio to its microwave dish connected to

the TV 3 Tall Tower in Kaplan, Louisiana. The signal then moved from KAJN's dish to the

tower's transmitter building. The transmitter processed the signal and moved it back up the tower



                                                 3

                                            EXHIBIT B
through KAJN's transmission line to KAJN's antenna, where the signal was broadcast to listeners.

Including KAJN's antenna, the TV 3 Tall Tower in Kaplan was nearly 1,800 feet high and had a

radio broadcast capability of 100,000 watts.

       At approximately 7:56 a.m. on August 31, 2018,just a few minutes after taking off from

the Chris Crusta Memorial Airport in Abbeville, Louisiana, a fixed wing single engine aircraft

Model PA-28R, manufactured by Piper Aircraft, Inc., bearing FAA registration number N7430J,

crashed into the TV 3 Tall Tower in Kaplan. The aircraft's operator, Marcus Todd Sampson, as

well as his young daughter, a passenger in the plane, were killed instantly.

       As a result of the crash, the TV 3 Tall Tower and all of KAJN's associated equipment,

including its microwave dish, transmission line, and antenna, were completely destroyed.

       After scrambling for eleven hours to identify alternative methods by which to broadcast its

signal to listeners, KAJN secured use of another station's back-up antenna at a height of 500 feet.

The back-up antenna and alternative tower allowed KAJN to broadcast its signal at just 2,000-

3,000 watts, or 2%-3% of its pre-crash capability. KAJN's broadcast area, once reaching nearly a

million and a half people between Lake Charles, Alexandria, Lafayette, Baton Rouge, and

elsewhere was reduced to just the Crowley, Jennings, Eunice, and Opelousas areas, with limited

coverage in the key Lafayette area.

       Over the next several months, KAJN attempted to develop a long-term solution to the

problem of achieving its pre-crash broadcast capabilities without use of the now-destroyed TV 3

Tall Tower in Kaplan. In May of 2019, KAJN completed negotiations of a deal with KATC TV

Channel 3, based in Lafayette, Louisiana,to use its tower located in Branch, Louisiana to broadcast

its signal. Although the Branch tower is 1,800 feet high, the deal with KATC TV Channel 3 allows

KAJN to broadcast with an antenna at 800 feet at an output of only 11,000-12,000 watts, achieving

only 11%-12% of KAJN's pre-crash capability.




                                                 4

                                          EXHIBIT B
        Moreover, the Branch tower on which KAJN now is broadcasting is located outside of

KAJN's broadcast zone as approved by the FCC. Although KAJN has obtained the FCC's

permission to broadcast outside its broadcast zone with an antenna at 800 feet at an output of only

1 1,000-12,000 watts, KAJN must secure additional, formal approval by the FCC in order to

broadcast with an antenna at a higher level and at a full licensed output power of 100,000 watts.

        Between March 18, 2018 and March 17, 2019, ANPAC insured Macken Aviation, LLC

and its individual executive officers and members, in consideration for premiums duly paid, under

aircraft insurance policy number AC-03390-00 (the "Policy"). The Policy afforded coverage

against certain claims, lawsuits, and liabilities which may be incurred to third parties within the

policy terms, such as the incident outlined above.

       The Policy affords coverage under the plain language of the contract to protected persons

for their legal liabilities for property damage and bodily injuries to third parties as a result of an

occurrence, that is, a sudden event which causes such damage On or about August 31, 2018, while

the Policy was in full force and effect, Marcus Todd Sampson was the pilot of an insured aircraft

under the Policy when it crashed into Plaintiff Clark's property in Vermillion Parish, Louisiana,

causing property damage. The crash resulted in the death of Sampson.


        A lawsuit ensued. This matter was adjudicated in the United States District Court, Western

District of Louisiana, Lafayette Divion under Civil Action No. 6:19-cv-01099; Agape

Broadcasters, Inc. v. Estate ofMarcus T Samson, et at. In that Cause,judgment was rendered in

favor of Plaintiff Agape Broadcasters, Inc. against Vallie Matix as the appointed administratrix of

the Estate of Marcus Todd Sampson, Defendant in the sum total of $6,023,642.00 plus legal

interest and costs, on August 15, 2023.




                                                  5

                                           EXHIBIT B
                                               V.

               NOTICE TO THE ESTATE OF MARCUS TODD SAMPSON

               TO:    The Estate of Marcus Todd Sampson
                      Vallie Matix, Administratrix of the Estate
                      Lewis and Lewis Attorneys at Law, PLLC,
                      16055 Space Center Blvd., Suite 190
                      Houston, Texas 77602

       You are hereby notified that the judgment creditor named below has filed an authenticated

copy of a judgment with the above-described court. The judgment names you as the judgment

debtor and was rendered by the United States District Court for the Western District of Louisiana,

Lafayette Division on April 15, 2023. The filing was made under the provisions of the Uniform

Enforcement of Foreign Judgments Act as adopted in the State of Texas.

               The name and address of the judgment creditor is:

                      AGAPE BROADCASTERS,INC.
                      d o, Charles H. Peckham
                      TBN: 15704900
                      Mary A. Martin
                      TBN: 00797280
                      Peckham Martin, PLLC
                      800 Bering Drive, Suite 220
                      Houston, Texas 77057
                      TEL: (713)574-9044

               The name and address of the judgment creditor's attorney in Texas is:

                      Charles H. Peckham
                      TBN: 15704900
                      Mary A. Martin
                      TBN:00797280
                      Peckham Martin, PLLC
                      800 Bering Drive, Suite 220
                      Houston, Texas 77057
                      TEL: (713)574-9044

Given this 26th day of July 2024.




                                                6

                                         EXHIBIT B
                                                VI.

                                            CLAIMS

       Plaintiff, AGAPE BROADCASTERS,INC.,as owner and operator of KAJN Radio, brings

claims against Defendants, MACKEM AVIATION,LLC(d/b/a/ Space City Aviators)and DAVID

L. NORMAN, pursuant to the laws of the State of Louisiana and the State of Texas.

                              Claimfor Enforcement ofJudgment

       Plaintiff files this claim to enforce the referenced judgment against the Estate and any

insurance coverage applicable.

                                 Claimfor Declaratory Judgment

       Plaintiff files this claim to seek a declaration that the above referenced Policy affords

coverage to Marcus Todd Sampson and as a result to the Estate of Marcus Todd Sampson as to the

judgment here referenced.

                              Claimfor Insurance Code Violations

       Furthermore, the facts giving rise to Plaintiffs claims in this case are not just the incident

itself, but rather the Defendant's actions and violations of the Texas Insurance Code, including

these specific violations:

       a)      Defendants are required by the Tex. Ins. Code §541.060 (a)(2)"to attempt in good

               faith to effectuate a prompt, fair, and equitable settlement of a claim with respect

               to which the insurer's liability has become reasonably clear."; and

       b.)     The liability of Defendant ANPAC under the Policy is reasonably clear given the

               facts in this case. What is also clear is that the final decision of denial made by

               Defendant ANPAC was not a good faith attempt to effectuate a prompt, fair and

               equitable settlement of Plaintiffs claims of damage Plaintiff is entitled to recover

               from Defendant.



                                                 7

                                         EXHIBIT B
       The Defendants knowingly committed the foregoing violations. The foregoing violations

were a producing cause of Plaintiffs damages.

                                                VII.

                                            DAMAGES

       Damages include the judgment and attorney's fees in filing and prosecuting this matter.

                                                VIII.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

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/II




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                                          EXHIBIT B
       WHEREFORE,Plaintiff, AGAPE BROADCASTERS,INC., prays that Defendants be

cited to appear and answer herein and,following a trial hereof, that Plaintiff be awarded damages,

pre-judgment and post-judgment interest in the maximum amount allowed by law, costs of court,

and such other relief to which Plaintiff may show itselfjustly entitled.

                                              Respectfully submitted,

                                             /s/ Charles H Peckham

                                              Charles H. Peckham
                                              TBN: 15704900
                                              cpeckhamQ,pmlaw-us.com

                                              Mary A. Martin
                                              TBN: 00797280
                                              m martina,pmlaw-us.com

                                              PECKHAM MARTIN,PLLC
                                              Two Bering Park
                                              800 Bering Drive, Suite 220
                                              Houston, Texas 77057
                                             (713)574-9044


LUNDY LLP

T. Houston Middleton, IV
TBN: 24085753
501 Broad Street(70601)
P.O. Box 3010
Lake Charles, Louisiana 70602
Telephone:(337)439-0707
Facsimile:(337)439-1029

                                              Counselfor Plaintiff Agape Broadcasters, Inc.




                                                 9

                                          EXHIBIT B
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Charles Peckham on behalf of Charles Peckham
Bar No. 15704900
cpeckham@pmlaw-us.com
Envelope ID: 90234226
Filing Code Description: Petition
Filing Description: Petition
Status as of 7/26/2024 1:43 PM CST

Case Contacts

Name                BarNumber Email                       TimestampSubmitted     Status
Houston Middleton              hmiddleton@lundylawIlp.com 7/26/2024 1:03:07 PM   SENT
Hunter Lundy                   hlundy@lundylawIlp.com     7/26/2024 1:03:07 PM   SENT
 Mary A.Martin                 mmartin@pmlaw-us.com       7/26/2024 1:03:07 PM   SENT
Drew Lewis          24133131   dlewis@lewis-lawyers.com   7/26/2024 1:03:07 PM   SENT
Polly Lewis         12302250   plewis@lewis-lawyers.com   7/26/2024 1:03:07 PM   SENT
Andrew Lewis        24068006   alewis@lewis-lawyers.com   7/26/2024 1:03:07 PM   ERROR




                                          EXHIBIT B
                                     Cause No.

 AGAPE BROADCASTERS,INC.                              IN THE DISTRICT COURT OF
     Plaintiff,

 V.


                                                      HARRIS COUNTY,TEXAS

 AMERICAN NATIONAL PROPERTY
 AND CASUALTY COMPANY and the
 ESTATE   OF  MARCUS   TODD
 SAMPSON,
                                                             JUDICIAL DISTRICT
        Defendants.

         AFFIDAVIT IN SUPPORT OF FILING OF FOREIGN JUDGMENT
 Pursuant to Texas Civil Practice And Remedies Code §35.004(a) - Uniform Enforcement of
                                   Foreign Judgments Act

FOR:

                           UNITED STATES DISTRICT COURT
                           WESTERN DISTICT OF LOUISIANA
                               LAFAYETTE DIVISION

AGAPE BROADCASTERS,INC.


VS.                                                Case No. 6:19-cv-1099 LEAD

SAMPSON, et.al.


STATE OF TEXAS

COUNTY OF HARRIS

       BEFORE ME,the undersigned authority, on this day personally appeared CHARLES H.

PECKHAM,known to me to be a credible person competent in all respects to make this affidavit,

and who, being by me sworn upon oath, stated:

              "I am the local Texas attorney for the judgment creditor having a judgment
       dated August 15, 2023 from the United States District Court for the Western
       District of Louisiana, Lafayette Division. An authenticated copy of the judgment
       has this day been filed with the clerk of the above-captioned court attached as


                                        EXHIBIT B
      Exhibit A hereto.

            "The name and last known address of the judgment debtor is:

                            The Estate of Marcus Todd Sampson
                            Vallie Matix, Administratrix of the Estate
                            Lewis and Lewis Attorneys at Law, PLLC,
                            16055 Space Center Blvd., Suite 190
                            Houston, Texas 77602

            "The name and address of the judgment creditor is:

                            AGAPE BROADCASTERS,INC.
                            d o ,Charles H. Peckham
                            TBN: 15704900
                            Mary A. Martin
                            TBN:00797280
                            Peckham Martin, PLLC
                            800 Bering Drive, Suite 220
                            Houston, Texas 77057
                            TEL: (713)574-9044

            "The name and address of the judgment creditor's attorney in Texas is:

                            Charles H. Peckham
                            TBN: 15704900
                            Mary A. Martin
                            TBN:00797280
                            Peckham Martin, PLLC
                            800 Bering Drive, Suite 220
                            Houston, Texas 77057
                            TEL: (713)574-9044

            "The purpose of the affidavit is so that notice of the filing of the foreign
      judgment can be given to the judgment debtor.

             "Further Affiant sayeth Not."


                                                   Charles . Peckham

       SUBSCRIBED and SWORN TO BEFORE ME on this the 26th clay of July 2024 to certify
which witness my hand.


                                                   Notary Public in and for the State of Texas
                                                          11,41641.46.0116416.01WIlmillhaillhrdllwall60

                                                                  "..•*     MARY ABBOTT MARTIN
                                                                            Notary ID #129328903
                                                                    ) 44.   My Commission Expires
                                                                               March 24, 2025
                                       EXHIBIT B
Case 6:19-cv-01099-RRS-CBW Document 73 Filed 08/15/23 Page 1 of 1 PagelD 4: 494




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

 AGAPE BROADCASTERS,INC.                             CASE NO.: 6:19-ev-01099 LEAD

 VERSUS                                              JUDGE ROBERT R.SUMMERHAYS

 SAMPSON,et at                                       MAGISTRATE JUDGE WHITEHURST




                                            JUDGMENT

        Considering the Unopposed Motion for Summary Judgment filed by Plaintiff, AGAPE

 BROADCASTERS,INC.;

        IT IS ORDERED that Plaintiffs Unopposed Motion for Summary Judgment be and is

 hereby granted; and

        JUDGMENT hereby is rendered in favor ofPlaintiff, AGAPE BROADCASTERS,INC,

 and    against   Defendant,     VALUE      MATTA,     DULY         APPOINTED      DEPENDENT

 ADMINISTRAT.R1X OF THE ESTATE OF MARCUS TODD SAMPSON, in the amount

 of $6,023,642 together with legal interest thereon from date of judicial demand until paid, and

 for all costs of these proceedings.

        Lafayette, Louisiana, this 15th day of August, 2023.




                        HONORABLE ROBERT R. SUIVIM.ERHAYS
                        UNITED STATES DISTRICT COURT JUDGE


                                                                   ATTEST A TRUE COPY
                                                                  DANIEL J. McCOY,CLERK
                                                               USOC    STERN 0 TRICT OF LA
                                                               BY
                                                               OATII
                                           EXHIBIT


                                       •   EXHIBIT B
                                                                                                                      8/5/2024 11:22 AM
                                                                                           Marilyn Burgess - District Clerk Harris County
                                                CIVIL PROCESS REQUEST                                           Envelope No. 90528583
                                                                                                                   By: Wanda Chambers
                                                                                                               Filed: 8/5/2024 11:22 AM
                          FOR EACH PARTY SERVED YOU MUST FURNISH ONE (1) COPY OF THE PLEADING
                         FOR WRITS FURNISH TWO (2) COPIES OF THE PLEADING PER PARTY TO BE SERVED

CASE NUMBER: __________________________
             2024-47287                                       CURRENT COURT: _____________________________________
                                                                             125th

TYPE OF INSTRUMENT TO BE SERVED (See Reverse For Types): _________________________________________________
                                                          Plaintiff's Original Petition

FILE DATE OF MOTION: ________________________________________________________________________________
                     August 24, 2021
                                                                 Month/     Day/    Year




                                                                                             k
SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be Served):




                                                                                          ler
1.   NAME: ___________________________________________________________________________________________
           American National Property and Casualty Company




                                                                                       tC
     ADDRESS: ________________________________________________________________________________________
              1999 Bryan Street, Suite 900, Dallas, Texas 75201




                                                                                   ric
     AGENT, (if applicable): ________________________________________________________________________________
                             CT Corporation System
TYPE OF SERVICE/PROCESS TO BE ISSUED (see reverse for specific type): ____________________________________________
                                                                      Citation




                                                                                ist
                                                                             sD
     SERVICE BY (check one):
           ATTORNEY PICK-UP                               CONSTABLE
           CIVIL PROCESS SERVER - Authorized Person to Pick-up: ________________________ Phone: _____________




                                                                           es
           MAIL                                           CERTIFIED MAIL




                                                                           rg
           PUBLICATION:
              Type of Publication:         COURTHOUSE DOOR, or
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2.   NAME: ___________________________________________________________________________________________
           Estate of Marcus Todd Sampson
                                                     of




     ADDRESS: ________________________________________________________________________________________
              16055 Space Center Blvd., Suite 190, Houston, Texas 77602
                                                  e




     AGENT, (if applicable): ________________________________________________________________________________
                             Andrew A. Lewis, counsel for Vallie Matix, Administratrix of the Estate
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INTERVENTION:                                                                       ATACHMENT (WITNESS)
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 ______ SUPPLEMENTAL INTERVENTION
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INTERPLEADER                                                                        CERTIORARI
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 ______ AMENDED INTERPLEADER
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 ______ SUPPLEMENTAL INTERPLEADER                                                   EXECUTION
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SHOW CAUSE ORDER                                                                    INJUNCTION
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TEMPORARY RESTRAINING ORDER
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                                      (specify)                                     POSSESSION (PROPERTY)
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